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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                       February 27, 2024
                                                                       Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

       UNITED STATES OF            § CRIMINAL ACTION NO.
       AMERICA,                    § 4:23-CR-00525
                                   §
                                   §
                                   §
             vs.                   § JUDGE CHARLES ESKRIDGE
                                   §
                                   §
       SOHAID ABUAYYASH,           §
                Defendant.         §

                ORDER TO PROVIDE MEALS TO JURORS

           The jury in this matter consists of twelve members.
           It is ORDERED that the Clerk will provide the jury with
       breakfast for the duration of the trial.
           It is further ORDERED that the Clerk will provide the
       jury with lunch during deliberations.
           A copy of this order will be provided to the Finance
       Department for reimbursement to the Clerk for meals.

          SO ORDERED.


          Signed on February 27, 2024, at Houston, Texas.




                                 Hon. Charles Eskridge
                                 United States District Judge
